        Case 1:22-cr-00354-RCL Document 43-1 Filed 05/02/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA                            :
                                                            :
                                                            :
                      v.                                    : Crim No. 1:22-cr-00354-RCL
                                                            :
                                                            :
RICHARD SLAUGHTER, and                              :
                                                            :
CADEN PAUL GOTTFRIED,                                       :
                                                            :
               Defendants.                                  :
DECLARATION OF SAIKRISHNA MITTAPALLI
       My name is Saikrishna Mittapalli and I am older than 18 years of age. I state the
following facts, under oath and under penalties of perjury. These facts are all within my personal
knowledge and I am prepared to testify regarding them at any time. I can be contacted through
the John Pierce Law firm.
   1. Around March 22, 2023, I was contacted by Emily lambert to help with the issue that she
      has been facing with her PC.
   2. Since I have experience in working with computers and I work as network engineer, I
      tried to help Emily with the issue.
   3. I was told, that on Monday March 20, 2023, after she opened a file that she received
      through email.
   4. She mentioned that after opening the file, her PC became frozen and the below message
      was displayed on the screen.
          “This program is dangerous and executes commands from an attacker.”
   5. She reached out to me on 03/26/23 after contacting tech support specialist, Quentin
      Murphy, who handles all issues within their firm that are computer related.
   6. I spent time trying to locate and eliminate the malware.
   7. On 03/28/23 I remotely logged into Emily’s PC and spent time looking through files to
      locate the virus.
   8. After locating the hidden file in mt user files, I was finally able to remove the file.
         Case 1:22-cr-00354-RCL Document 43-1 Filed 05/02/23 Page 2 of 2




   9. In my opinion, the malware was a sophisticated creation, designed to evade easy
      detection.
Signed under penalty of perjury,
/s/ Saikrishna Mittapalli
Saikrishna Mittapalli
P: (475) 449-7660
